Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 1 of 9 PAGEID #: 1306




                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

JASON RATCLIFF, et al.,

            Plaintiffs,                                          Case No. 1:05-cv-582

vs.                                                              Spiegel, J.
                                                                 Black, M.J.
ERNIE MOORE, et al.,

            Defendants.

 REPORT AND RECOMMENDATION1 THAT DEFENDANTS’ MOTION FOR
 SUMMARY JUDGMENT (Doc. 207) BE GRANTED AND THIS CASE CLOSED


            This civil action is now before the Court on Defendants’ motion for summary

judgment as to Plaintiff Blankenship’s injunctive and declaratory claim for in-cell

possession of his legal materials (Doc. 207) and the parties’ responsive memoranda

(Docs. 210, 214.)


                I. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

            Blankenship’s complaint makes a claim for denial of access to legal materials

relating to grievances and Informal Complaints he filed in April and June 2005 as to the

involvement of April Barr and (former) Warden Ernie Moore's in the removal of legal

materials from Blankenship’s cell at Lebanon Correctional Institution (LeCI). (See Doc.

1, p. 15 at ¶¶ 32-33.)

            Blankenship requested partial summary judgment in order to prevent RCI


      1
          Attached hereto is a NOTICE to the parties regarding objections to this Report and Recommendation.
Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 2 of 9 PAGEID #: 1307




employees from enforcing the ODRC excess legal materials policy (59-LEG-01) against

him; Blankenship wanted to store his excess legal materials in his cell in the same way

that a television, radio, guitar, or other exempt property items are allowed to be stored.

(Doc. 82, p.2). Blankenship alleges that a prison regulation restricting access to excess

legal materials once every thirty days is unconstitutional. (Id. at p.1)

       However, Blankenship was required to store his excess legal materials in a legal

locker box in a vault, and he had access to these materials at least once every thirty days,

and more often if necessary. (Docs. 84 & 85, Declaration of Cassie Johnson, Exhibit A).

       Blankenship alleges that 59-LEG-01 is unfair considering that ODRC policy

61-PRP-01 VI (A)(3) and OAC 5120-9-33 (B) authorize exemptions to the 2.4 cubic foot

in-cell property storage limits for some property such as televisions, radios, fans, shoes,

and guitars. (Id.) He maintains that he needed to be free from the excess legal materials

policy because he is a plaintiff in this case, Eberle v. Wilkinson, C2-03-272, and Miller v.

Wilkinson, C2-98-275, and because he was helping another inmate, Brian Mann, with

Mann v. Wilkinson, C2-00-706, Mr. Mann’s lawsuit. (Id.) Blankenship stated that he had

a right to possess all his legal materials in his cell because he was hindered in his legal

research and ability to litigate his own cases and Mr. Mann’s case. (Id.)

       Blankenship filed motions for preliminary injunctive relief and for partial

summary judgment on his claim which sought to invalidate ODRC’s rules and policies

concerning in-cell possession of property including legal materials. (Docs. 81 and 82).

       The Court denied Blankenship’s motion for partial summary judgment on

                                              -2-
Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 3 of 9 PAGEID #: 1308




possession of legal materials. (Doc. 206). The Court noted that the injunctive and

declaratory claim regarding in-cell possession of legal materials is the only issue

remaining in the case. (Doc. 206). Defendants therefore move for summary judgment.

       Blankenship was released from prison April 23, 2009, and he has filed notice with

the Court of this fact. (Doc. 202). Among other contentions, Defendants contend that

Blankenship’s release from prison renders the issue moot.

                                 II. STANDARD OF REVIEW

       Summary judgment is proper “if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there

is no genuine issue as to any material fact and that the moving party is entitled to a

judgment as a matter of law.” Fed. R. Civ. P. 56(c); see Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). The

moving party has the burden of showing the absence of genuine disputes over facts which

might affect the outcome of the action. Celotex, 477 U.S. at 323. All facts and inferences

must be construed in a light most favorable to the party opposing the motion. Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

       Where the movant has made a properly-supported summary judgment motion, the

opposing party cannot simply rely upon the allegations or denials of his pleadings.

Anderson, 477 U.S. at 248. However, a court need not give credence to “mere

allegations” nor draw inferences where they are implausible or not supported by “specific

facts.” Id. at 249; see also Mitchell v. Toledo Hosp., 964 F.2d 577, 585 (6th Cir.1992).

                                             -3-
Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 4 of 9 PAGEID #: 1309




Furthermore, “self-serving affidavits, alone, are not enough to create an issue of fact

sufficient to survive summary judgment.” Wolfe v. Village of Brice, 37 F.Supp.2d 1021,

1026 (S.D. Ohio 1999) (citing Anderson, 477 U.S. 242). Thus, the law is clear:

conclusory allegations are not sufficient to defeat a properly supported summary

judgment motion. McDonald v. Union Camp Corp., 898 F.2d 1155, 1162 (6th Cir. 1990).

        Finally, while the pleadings of pro se litigants are liberally construed, the fact that

a plaintiff is “proceeding pro se does not otherwise relieve [him] from the usual

requirements of summary judgment.” Bussey v. Phillips, 419 F. Supp.2d 569 (S.D.N.Y.

2006) (quoting Fitzpatrick v. N.Y. Cornell Hosp., 2003 WL 102853, at *5 (S.D.N.Y. Jan.

9, 2003).

                                               III. ANALYSIS

        Defendants maintain that Blankenship has failed to establish violation of his

constitutional right to access to courts.2 The undersigned agrees.



                A.      Blankenship has failed to demonstrate an actual injury.

        In order for Blankenship to succeed on his claim of violation of his constitutional

right to access to courts, he must demonstrate an actual injury. Lewis v. Casey, 518 U.S.



   2
      On April 23, 2009, several years after Plaintiff filed his complaint, he was released from prison.
(Doc. 202). Therefore, any claims Plaintiff may have had for injunctive or declaratory relief arising out
of the conditions of his confinement are now moot. Article III jurisdiction of the federal courts “extends
only to actual cases and controversies. We have no power to adjudicate disputes which are moot.”
McPherson v. Michigan High School Athletic Association, Inc., 119 F.3d 453, 458 (6th Cir. 1997) (en
banc). See also Bowman v. Corrections Corp. of America, 350 F.3d 537, 550 (6th Cir. 2003).

                                                    -4-
Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 5 of 9 PAGEID #: 1310




343, 350-352 (1996). “[A]n inmate cannot establish a relevant actual injury simply by

establishing that his prison’s law library or legal assistance program is subpar in some

theoretical sense. That would be the precise analog of the healthy inmate claiming

constitutional violation because of the inadequacy of the prison infirmary.” Id at 351.

Thus, Defendants are entitled to summary judgment in the absence of a showing of actual

harm or upon the existence of a dispute as to this fact.

       This Court has already found that Blankenship failed to demonstrate an actual

injury. (See Doc. 206) Thus, Defendants maintain that he may not therefore challenge

the constitutionality of the prison regulation concerning storage of excess legal materials.

       Notably, Blankenship had access to his excess legal materials more frequently than

every thirty days. (Id. at ¶¶4-11) Thus, he was not prevented from accessing the court or

his excess legal materials. Moreover, he had the ability to access the legal locker box

when he had an impending deadline. (Id. at ¶8)

       Second, the fact that Blankenship was a plaintiff in three lawsuits and aiding

another inmate in that inmate’s lawsuit did not change the nature of Blankenship’s rights

or needs to access his excess legal materials: (1) He was represented by counsel in both

Eberle v. Wilkinson and Miller v. Wilkinson, and Brian Mann whom he was assisting was

also eventually represented; (2) He did not complain of missing a deadline, having to ask

for an unwarranted number of extensions of time to respond, nor in any way losing his

ability to litigate these matters; and (3) He was not permitted to possess another inmate’s

legal materials anyway, pursuant to ODRC policy 61-PRP-01. (Docs. 84 & 85, Exhibit A,

                                             -5-
Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 6 of 9 PAGEID #: 1311




Addendum B, p.5 at Section F.2.d.; 61-PRP-01, attached as Exhibit B to Docs. 84 & 85).

Therefore, Blankenship had no greater need or right to violate RCI regulations by

possessing excess legal materials in his cell, and he did not demonstrate injury related to

his ability to litigate.

        It is evident from the Declaration of Cassie Johnson, his former unit manager at

RCI (attached as Exhibit A to Docs. 84 & 85 ), that Blankenship’s access to his legal

materials was adequate and he failed to demonstrate any instances of harm or threatened

harm by Defendants. Accordingly, the undersigned concludes that Defendants did not

hinder Blankenship’s right to access to the courts, nor even his ability to access his legal

materials in excess of the 2.4 cubic foot in-cell locker box storage limit.

        B.      ODRC regulations were reasonably related to a legitimate penological
                interest

        However, assuming arguendo that Plaintiff has a established a constitutional right,

the policy and regulations at issue were reasonably related to a legitimate penological

interest.

        A prison regulation impinging on inmates’ constitutional rights is valid if it is

reasonably related to legitimate penological interests. Lewis, 518 U.S. at 361 (citing

Turner v. Safley, 482 U.S. 78, 89, (1987)).

        Here, prison officials are faced with limited options in dealing with inmate

property and storage. Officials have carefully determined what items may remain within

a cell but outside of the 2.4 cubic feet locker box, and how excess materials may be stored


                                              -6-
Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 7 of 9 PAGEID #: 1312




in other ways to preserve the rights of the inmates to possess certain materials.

Furthermore, the interest of maintaining order in a prison requires that rules are

consistently enforced and applied to each inmate. (Docs. 84 & 85, Declaration of Cassie

Johnson, Exhibit A, ¶13). Developing excess legal material policies requires the

balancing of divergent interests: (1) Inmates need to have a living space free from

unmanageable legal paperwork which poses not only an annoyance but also a security

risk; (2) Staff must be able to efficiently inspect inmate property; and (3) It is vital to

institutional operations that policies are clear and equally applied to all inmates. Id. It

would cause substantial harm to other inmates and staff if Blankenship were to be singled

out for special privileges. Furthermore, on a larger scale, allowing all inmates to possess

excessive amounts of legal materials in their cells would place an unmanageable burden

on the institution and other inmates.

       There is no genuine issue of material fact in dispute, and Defendants are entitled to

judgment as a matter of law on Blankenship’s claim concerning storage of his legal

materials.




                                                    IV.

       For the reasons stated above, IT IS RECOMMENDED THAT Defendants’

motion for partial summary judgment on Blankenship’s claim concerning storage of his

legal materials (Doc. 207) should be GRANTED, and this matter CLOSED.

                                              -7-
Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 8 of 9 PAGEID #: 1313




       It is further RECOMMENDED that the Court certify that any appeal would not

be taken in good faith. See 28 U.S.C. § 1915(a)(3); Kincade v. Sparkman, 117 F.3d 949

(6th Cir. 1997).



Date: April 2, 2010                                   s/Timothy S. Black
                                                     Timothy S. Black
                                                     United States Magistrate Judge




                                          -8-
Case: 1:05-cv-00582-SAS-KLL Doc #: 218 Filed: 04/02/10 Page: 9 of 9 PAGEID #: 1314




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

JASON RATCLIFF, et al.,

       Plaintiffs,                                 Case No. 1:05-cv-582

vs.                                                Spiegel, J.
                                                   Black, M.J.
ERNIE MOORE, et al.,

       Defendants.

                                         NOTICE

       Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written

objections to this Report & Recommendation (“R&R”) within 14 DAYS of the filing date

of this R&R. That period may be extended further by the Court on timely motion by either

side for an extension of time. All objections shall specify the portion(s) of the R&R objected

to, and shall be accompanied by a memorandum of law in support of the objections. A party

shall respond to an opponent’s objections within 14 DAYS after being served with a copy

of those objections. Failure to make objections in accordance with this procedure may forfeit

rights on appeal. See Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638

F.2d 947 (6th Cir. 1981).




                                             -9-
